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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


10,052, LLC,

       Plaintiff,

v.                                        Case No. 4:24-MC-0126-MW-MAF

JOHN MARTING, and
BEYOND RECOGNITION, LLC,

       Defendants,

v.

EVERBANK FINANCIAL CORP.,

     Garnishee.
____________________________/


                                  ORDER

       This case was initiated on September 11, 2024, with the filing of a

Clerk’s Certification of a Judgment to be Registered in Another District.

ECF No. 1. Final Judgment was entered against Defendants John Martin

and Beyond Recognition, LLC, and in favor of 10,052, LLC, on July 25,

2023, in the amount of $931,500.00, plus pre-judgment interest

($166,835.00), and costs ($24,501.25). ECF No. 1-1.
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     Judgment Creditor/Plaintiff 10,052, LLC, filed a motion for a post-

judgment writ of garnishment as to Garnishee EVERBANK FINANCIAL

CORPORATION, believed to “have possession or control or tangible

assets of Defendants’ JOHN MARTIN, and/or Beyond Recognition, LLC.

ECF No. 3. The motion was granted and the writ of garnishment issued on

October 4, 2024. ECF Nos. 7-8. The executed writ was returned on

October 11, 2024. ECF No. 9.

     On October 24, 2024, Garnishee Everbank Financial Corporation

[“EFC”] filed an answer advising that ECF is “a holding company and as

such does not maintain banking accounts.” ECF No. 10 at 1. Garnishee

further advises that it is not, and was not, indebted to Defendants or have

property of the Defendants in its possession. Id.

     Florida law specifies that a plaintiff who is not satisfied with the

answer must serve a reply within 20 days thereafter. FLA. STAT. § 77.061.

If a reply has not been filed by the Plaintiff by November 13, 2024, the

Clerk of Court shall refer this case to the undersigned Magistrate Judge

and the writ of garnishment will be dissolved.




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      Accordingly, it is

      ORDERED:

      1. If dissatisfied with the answer, Plaintiff must serve a reply within

20 days pursuant to FLA. STAT. § 77.061.

      2. The Clerk of Court shall refer this case to the undersigned upon

the filing of a reply, or not later than November 13, 2024.

      DONE AND ORDERED on October 28, 2024.



                                   S/ Martin A. Fitzpatrick
                                   MARTIN A. FITZPATRICK
                                   UNITED STATES MAGISTRATE JUDGE




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